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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 U.S. NAVY SEALs 1–3, et al.,                        §
                                                     §
      Plaintiffs,                                    §
                                                     §
 v.                                                  §   Civil Action No. 4:21-cv-01236-O
                                                     §
 LLOYD J. AUSTIN, III, et al.,                       §
                                                     §
                                                     §
      Defendants.                                    §

                                    FED. R. EVID. 502(D) ORDER

         Upon consideration of the parties’ joint motion pursuant to Federal Rule of Evidence

502(d) for entry of an order governing the inadvertent production of documents that may be

privileged or protected, it is hereby ORDERED as follows:

         I.         NO WAIVER BY DISCLOSURE

         1.         The production of a document, or part of a document, shall not constitute a waiver

of any privilege or protection as to any portion of that document, or as to any undisclosed

privileged or protected communications or information concerning the same subject matter, in this

or in any other proceeding. This Order applies to the attorney-client privilege, work-product

protections, and all other protections afforded by Federal Rule of Civil Procedure 26(b) and

governmental privileges including any information or material that has been determined by the

United States Government pursuant to an Executive order, statute, or regulation, to require

protection against unauthorized disclosure for reasons of national security. Nothing in this Order

shall constitute an admission that any document disclosed in this litigation is subject to any of the

foregoing privileges or protections, or that any party is entitled to raise or assert such privileges.




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Additionally, nothing in this Order shall prohibit parties from withholding from production any

document covered by any applicable privilege or other protection.

       2.      This Order shall displace the provisions of Fed. R. Evid. 502(b)(1) and (2). That

is, the disclosure of privileged or protected information, as described above, in this litigation shall

not constitute a subject-matter waiver of the privilege or protection in this or any other federal or

state proceeding, regardless of the standard of care or specific steps taken to prevent disclosure.

However, nothing in this Order shall limit a party’s right to conduct a pre-production review of

documents as it deems appropriate.

       II.     DEFINITIONS

       1.      “Document,” as used herein, includes all items listed in Fed. R. Civ. P. 34(a)(1)(A)

and (B).

       2.      “Documents Produced,” as used herein, includes all documents made available for

review or produced in any manner during this litigation.

       III.    PROCEDURES

       The procedures applicable to a claim of privilege with respect to a produced document and

the resolution thereof shall be as follows:

       1.      If a party discovers a document, or part thereof, produced by another party that is

privileged or otherwise protected, the receiving party shall promptly notify the producing party

and then return the document or destroy it and certify that it has been destroyed to the producing

party. Nothing in this Order is intended to shift the burden to identify privileged and protected

documents from the producing party to the receiving party.




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        2.      If the producing party determines that a document produced, or part thereof, is

subject to a privilege or privileges, the producing party shall promptly give the receiving party

notice of the claim of privilege (“privilege notice”).

        3.      The privilege notice must contain information sufficient to identify the document

including, if applicable, a Bates number as well as an identification of the privilege asserted and

its basis.

        4.      Upon receiving the privilege notice, if the receiving party agrees with the privilege

assertion made, the receiving party must promptly return the specified document(s) and any copies

or destroy the document(s) and copies and certify to the producing party that the document(s) and

copies have been destroyed. The receiving party must sequester and destroy any notes taken about

the document. If a receiving party disclosed the document or information specified in the notice

before receiving the notice, it must take reasonable steps to retrieve it, and so notify the producing

party of the disclosure and its efforts to retrieve the document or information.

        5.      Upon receiving the privilege notice, if the receiving party wishes to dispute a

producing party’s privilege notice, the receiving party shall promptly meet and confer with the

producing party. The document(s) shall be sequestered – and if applicable securely stored – and

not be used by the receiving party in the litigation (e.g., filed as an exhibit to a pleading or used in

deposition) while the dispute is pending. If the parties are unable to come to an agreement about

the privilege assertions made in the privilege notice, the receiving party may make a sealed motion

for a judicial determination of the privilege claim.

        6.      Pending resolution of the judicial determination, the parties shall both preserve and

refrain from using the challenged information for any purpose and shall not disclose it to any

person other than those required by law to be served with a copy of the sealed motion. The



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receiving party’s motion challenging the assertion must not publicly disclose the information

claimed to be privileged. Any further briefing by any party shall also not publicly disclose the

information claimed to be privileged if the privilege claim remains unresolved or is resolved in the

producing party’s favor.

       7.      If a document must be returned or destroyed as determined by the process above,

that document, along with copies and notes about the document, that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials shall be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the receiving party will take reasonable steps to limit

access, if any, to the persons necessary to conduct routine IT and cybersecurity functions. In the

case of the inadvertent disclosure of information or material that has been determined by the United

States Government pursuant to an Executive order, statute, or regulation, to require protection

against unauthorized disclosure for reasons of national security additional procedures may be

required as specified by the United States Government.

       SO ORDERED on this 8th day of July, 2022.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE




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